                                        Case 5:25-cv-04685-VKD           Document 12        Filed 07/16/25      Page 1 of 3




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8     CHRISTOPHER J. CORDOVA,                            Case No. 25-cv-04685-VKD
                                                        Plaintiff,
                                   9
                                                                                            ORDER RE EX PARTE APPLICATION
                                                 v.                                         FOR LEAVE TO SERVE A THIRD-
                                  10
                                                                                            PARTY SUBPOENA PRIOR TO A
                                  11     JONATHAN HUNEAULT,                                 RULE 26(F) CONFERENCE
                                                        Defendant.                          Re: Dkt. No. 11
                                  12
Northern District of California
 United States District Court




                                  13

                                  14          In this copyright infringement action, plaintiff Christopher J. Cordova seeks leave to serve

                                  15   a third-party subpoena on Google LLC d/b/a YouTube (“YouTube”) prior to a Rule 26(f)

                                  16   conference.

                                  17          Mr. Cordova has established that good cause exists to serve a third-party subpoena on

                                  18   YouTube for the purpose of identifying the alleged infringer in order to effect service. See

                                  19   Gillespie v. Civiletti, 629 F.2d 637, 642 (9th Cir. 1980); UMG Recording, Inc. v. Doe, No. C08-

                                  20   1193 SBA, 2008 WL 4104214, at *4 (N.D. Cal. Sept. 3, 2008) (“Good cause may be found where

                                  21   the need for expedited discovery, in consideration of the administration of justice, outweighs the

                                  22   prejudice to the responding party.”). Mr. Cordova has demonstrated that (1) he can identify the

                                  23   defendant with sufficient specificity such that the Court can determine that the defendant is a real

                                  24   person or entity who could be sued in federal court, (2) he has identified previous steps taken to

                                  25   locate the defendant, (3) his action against the defendant could withstand a motion to dismiss, and

                                  26   (4) there is a reasonable likelihood of being able to identify the defendant through discovery such

                                  27   that service of process would be possible. See Columbia Ins. Co. v. Seescandy.com, 185 F.R.D.

                                  28   573, 578-80 (N.D. Cal. 1999). Specifically, Mr. Cordova has sufficiently demonstrated that, while
                                        Case 5:25-cv-04685-VKD           Document 12         Filed 07/16/25     Page 2 of 3




                                   1   the case was originally filed against a named defendant, this name and the information associated

                                   2   with it may be fictious and discovery is needed to identify the correct individual for service. See

                                   3   Dkt. No. 11-1, Declaration of Randall S. Newman. Additionally, Mr. Cordova’s application

                                   4   indicates that he has satisfied the registration requirements under 17 U.S.C. § 411(a) for

                                   5   commencing a copyright infringement lawsuit. Fourth Estate Public Benefit Corp. v. Wall-

                                   6   Street.com, LLC, 586 U.S. 296 (2019).

                                   7          However, the Court does not find that the proposed subpoena as currently drafted is

                                   8   narrowly tailored to obtain only the information necessary to identify the alleged infringer. See

                                   9   Dkt. No. 11-1, Ex. F. Attachment A to the subpoena includes two requests:

                                  10                  1. All identifying information, including the name(s), address(es),
                                                         telephone number(s), email address(es), and IP address(es) for
                                  11
                                                         the user(s) associated with the following YouTube channel:
                                  12                     https://www.youtube.com/@FrauditorTroll. Please include all
Northern District of California




                                                         identifying information provided when this channel was
 United States District Court




                                  13                     established, as well as all identifying information provided
                                                         subsequently for billing, administrative or AdSense revenue
                                  14                     purposes.
                                  15
                                                      2. All identifying information, including the name(s), address(es),
                                  16                     telephone number(s), email address(es), social media profile
                                                         data, and IP address(es), for the users who posted, uploaded,
                                  17                     downloaded or modified the data at the following URL:
                                                         https://youtu.be/I-J8sdKZ504 ?si=s9kES3XTGpURZ1A3.
                                  18
                                  19   Id. To the extent the subpoena would require YouTube to disclose “social media profile data,”

                                  20   that term is neither defined nor explained in the subpoena or in the ex parte application, but it

                                  21   appears to encompass information beyond the identity of the alleged infringer. Id. In addition, to

                                  22   the extent the subpoena would require YouTube to disclose information about any user who

                                  23   “downloaded” the allegedly infringing video, the subpoena seeks information well beyond the

                                  24   information necessary to identify the alleged infringer. Id. The Court is satisfied, however, that

                                  25   these concerns can be addressed by deleting the phrases “social media profile data” and

                                  26   “downloaded” from the text of the second document request in the proposed subpoena.

                                  27          Accordingly, the Court grants Mr. Cordova’s application and orders as follows:

                                  28          1.      Mr. Cordova may serve a Rule 45 subpoena on YouTube commanding YouTube to
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                                        Case 5:25-cv-04685-VKD           Document 12         Filed 07/16/25      Page 3 of 3




                                   1                 provide Mr. Cordova with the information requested in a revised Attachment A

                                   2                 that reflects the modifications set forth above. Mr. Cordova shall attach a copy

                                   3                 of this order to the revised subpoena.

                                   4          2.     The return date on the revised subpoena must permit at least 30 days for YouTube

                                   5                 to respond.

                                   6          3.     YouTube shall serve a copy of the revised subpoena and a copy of this order on the

                                   7                 user(s) whose information is required to be disclosed within 15 days of the date of

                                   8                 service of the subpoena on YouTube. YouTube may serve the user(s) using any

                                   9                 reasonable means, including written notice sent to the last known address,

                                  10                 transmitted either by first-class mail or via overnight service.

                                  11          4.     Mr. Cordova may only use the information disclosed by YouTube in response to

                                  12                 the Rule 45 subpoena served on YouTube for the purpose of identifying the alleged
Northern District of California
 United States District Court




                                  13                 infringer in order to effect service of process in this action.

                                  14          5.     Any affected party or user may object to the Rule 45 subpoena, and may also seek a

                                  15                 protective order.

                                  16          IT IS SO ORDERED.

                                  17   Dated: July 16, 2025

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                                                                                                     Virginia K. DeMarchi
                                  20                                                                 United States Magistrate Judge
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